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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                                      Misc No.1: 21-mc-00194-KPF
BREAKING MEDIA INC.
dba ABOVE THE LAW,                                    Associated Case: 1:18-cv-00444
                                                      (W.D.TX)
                                    Petitioner,

                  -against-                           MOTION FOR ADMISSION PRO
                                                      HAC VICE
EVAN P. JOWERS,

                                  Respondent.
Re: Subpoena Issued in,
MWK Recruting, Inc. v.
Evan P. Jowers, et al
U.S. District Court
Western District of Texas

       Pursuant to Rule 1.3 of the Local Rules of the United States Courts for the

Southern and Eastern Districts of New York, Robert Tauler hereby moves this Court for

an Order for admission to practice Pro Hac Vice to appear as counsel for Respondent

Evan P. Jowers in the above-captioned action.

       An Affidavit of Robert Tauler, a Certificate of Good Standing from the Supreme

Court of the State of Texas, and a Proposed Order on this Motion are filed concurrently.


Dated: March 11, 2021                        Respectfully Submitted,


                                             ____________________________________
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